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IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF CALIFORNIA

IN RE CATHODE RAY TUBE (CRT) ANTITRUST
LITIGATION
This Relates to:

Order Filed 11/17/2014

MDL No 1917
Master Case No 3:07-cv-05944SC

SPECIAL MASTER’S REPORT AND
RECOMMENDATION RE SETTLEMENT

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In accordance with the mandate of the Manual for Complex Litigation 4, 410.13
at 12 (Federal Judicial Center 2004) “periodically [to] monitor[] the progress of the litigation”
and the court’s case management authority to “facilitat[e] settlement” pursuant to FRCP
16(a)(5), the court has directed the undersigned to report on the status of settlement efforts in
the above litigation and to make such recommendations that may assist the parties in reaching
settlements where appropriate. Order filed 11/17/14, Doc 3118. This responds to that
directive.

Presently, the court and parties face imminent dates for hearing and reaching
decisions on a large number of summary judgment motions accompanied by voluminous
submissions as well as pretrial and trial dates shortly after the first of the year. Many additional
pretrial motions, such as motions in limine, trial scheduling and bifurcation of issues and parties
can be expected and, if filed, will have to be argued and decided. In addition, numerous
discovery issues remain to be resolved and discovery continues even though the discovery cut-
off has passed. The task ahead for both the parties and the court is daunting. Although
settlements are unlikely to resolve all claims and issues in this massive litigation, settlements of
some claims should streamline the litigation that remains.

Some significant settlements have already been achieved. The direct purchaser
plaintiff (“DPP”) class have resolved substantially all their claims. Final approval for all but two
defendants and the claims process has been granted by the court. Unfortunately, some of the
DPP settlements have been complicated by uncertainty about membership in the class, an issue
now before the court and one that could lead to appellate review. Nonetheless, the DPP
settlements have materially reduced the scope of this litigation. For purposes of this report,
the significance of the DPP settlements is that despite the complex fact issues in the DPP
litigation and the legal uncertainties the parties in all the CRT cases face, about which more will
be said presently, experienced and highly competent counsel on both sides of the DPP cases
have been able to work through these difficult issues to a resolution.

In addition, some of the direct action plaintiff (“DAP”) cases have settled and
counsel in a number of DAP cases are fruitfully engaged in settlement discussions. Achieving

settlements of the indirect purchaser plaintiff (“IPP”) class cases has proven more difficult. Two

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problems, in particular, have been obstacles to settlement in the IPP cases. Both issues are
matters that have already come to the court’s attention, although perhaps in different contexts
and, therefore, the implications of these developments for settlement may not have been
apparent to the court.

First, as previously related directly to the court, there has been a lack of
“meaningful coordination” of fact and expert discovery by the IPPs’ lead counsel and the
California Attorney General’s Office (“Cal AG”). See e g, In re CRT Antitrust Litigation, No 3:07-
cv-5944-SC, MDL No 1917, Varanini Declaration, Doc 2859 at 2-3, filed September 18, 2014 (ND
Cal). The Cal AG is pursuing parens patriae claims on behalf of California “natural persons” in
San Francisco superior court against essentially the same defendants as are named in this court
by the IPPs. See Cal Bus & Prof Code, §16760. In most instances, where there has been parallel
parens patriae litigation brought by the Cal AG and indirect purchaser class litigation, the Cal AG
has been able to coordinate her litigation in state court with litigation on behalf of the IPPs in
federal court thereby avoiding duplication of effort and unnecessary expense.

In this litigation, however, the Cal AG and IPPs’ lead counsel have been unable to
reach an accommodation to avoid these difficulties. Hence the extent of releases afforded by
settlement of the Cal AG’s claims is a matter in dispute. The Cal AG and IPPs’ lead counsel are
presently litigating these issues in state court with attendant distraction of their respective
efforts. These issues have already been presented to this court. But the point for purposes of
this report is that the inability of IPP lead counsel and counsel for the Cal AG to resolve their
respective responsibilities has opened up a new front of conflict that in most cases involving
indirect purchaser and parens patriae claims has been avoided.

Coordination of the parens patriae action would assist not only this court, but

would assist the state court, as well. See, e g, the state court’s case management order, dated

1 See eg, In re TFT-LCD (Flat Panel) Antitrust Litigation, No 3:07-md-1827SI, Indirect Purchaser Plaintiffs’
and Settling States’ Joint Motion to Appoint Fund Administrator and Distribute Settlement Fund, Doc 9217, filed
9/12/14 (ND Cal 2014), Attachment A.

2 See e g, The State of California et al v Chungwha Picture Tubes Ltd, No CGC-11-515786, Sur-Reply of
Objector Figone in Opposition to Motion for Final Approval of Philips Settlement, filed 11/27/13 (Superior Court
for the State of California), Attachment B.

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November 12, 2014, Attachment C. Uncertainty about the relationship of the parens patriae
claims and the IPP claims has been exacerbated by the Ninth Circuit’s recent decision in
California v Intelligender, LLC, __ F3d___, 2014 WL 5786718 (9 Cir 2014), thus compounding the
difficulties created by the lack of coordination between IPP lead counsel and the Cal AG.

Second, preparing for trial of the IPP claims is particularly complex, involving as it
does the sometimes inconsistent laws of many states and the problems of tracing alleged
damages through the distribution chain to the indirect purchasers. It is understandable that
attention of IPP lead counsel to settlement may have taken a back seat to trial preparation. By
the same token, fast approaching pretrial and trial dates, as those in this litigation, are usually
conducive to settlements or, at least, serious settlement discussions. With one notable
exception, however, IPP lead counsel has made little progress in the face of these looming
deadlines. Furthermore, the IPP settlement discussions that the undersigned has been privy to
do not appear to have been pursued with the degree of earnestness required to produce
results. This most likely is the product not of a lack of good intentions, but rather of the IPP
settlement team being understaffed in the face of the demands of getting ready for trial.

Hence, the undersigned recommends that the IPP team be augmented to
explore settlement and to resolve the outstanding issues with the Cal AG. Although IPP lead
counsel should welcome the needed assistance, he may well oppose this recommendation as it
would represent a dilution of his hitherto undiluted authority over the IPP cases. Should that
occur, the court should most certainly fully hear IPP lead counsel and consider his views
thoughtfully. A prior draft of this recommendation was furnished IPP lead counsel on
November 19, 2014. All other parties should also be invited to weigh in on this
recommendation.

Notwithstanding possible opposition by IPP lead counsel and possibly others, the
undersigned believes that the appointment of a committee of IPP counsel to deal with
settlement is warranted. Such a committee is particularly called for where, as here, “group
members’ interests and positions are sufficiently dissimilar to justify giving them representation
in decision making.” Manual for Complex Litigation, 4°, 410.221 at 25. Perhaps as many as

fifty counsel have brought IPP claims. Achieving consensus among that number of lawyers with

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widely disparate client interests requires coordination beyond the time and capability of any
one lawyer, despite that lawyer’s capability and dedication. This recommendation does not
entail replacing lead IPP counsel, but rather calls for augmenting the IPP team so that adequate
attention and effort can be devoted to settlement.

Accordingly, in order for the settlement process to move forward, the
undersigned RECOMMENDS that the court appoint additional lawyers from the ranks of those
who represent IPPs to assume the laboring oar in seeking to coordinate IPP claims with the
parens patriae claims of the Cal AG and in settlement negotiations. Because of the obvious
need to coordinate settlement efforts with trial preparation and because of the substantial
experience and efforts of IPP lead counsel, the undersigned RECOMMENDS that two
experienced and able counsel representing indirect purchaser plaintiffs be assigned to work
with IPP lead counsel. Two such counsel have presented themselves and expressed willingness
to assume these responsibilities: Francis O Scarpulla and Josef D Cooper. Both are well known
to the undersigned through many years of experience in the antitrust bar and have already
done substantial work in this litigation. Messrs Scarpulla and Cooper participated
constructively and effectively in negotiating settlements on behalf of indirect purchasers in the
TFT-LCD litigation before Judge Illston, which the undersigned mediated and in the DRAM
Litigation before Judge Hamilton. It is recommended that Messrs Scarpulla and Cooper work
with IPP lead counsel as a three-person committee to deal with settlement and coordination
with the Cal AG.

The undersigned has considered alternatives to this recommendation. One such
alternative would be for the court to order the parties to mediation. While that sometimes
proves effective in other cases, its effectiveness in this litigation is questionable. The number of
lawyers who play important roles and their various client interests would make omnibus
mandated mediation sessions unwieldy and not likely to prove fruitful. Furthermore, of course,
a mandated mediation will not likely resolve the lack of coordination between IPP lead counsel
and the Cal AG. Another alternative would be for the court simply to push ahead with trial
preparation and let settlements take their own course. In addition to complicating the court’s

case management tasks, such an approach would disserve the parties. The claims at bar are

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substantial, the facts out of which they arose are complex and the applicable laws are manifold
and, in some significant respects, unsettled. Compare, Motorola Mobility LLC v AU Optronics
Corp,___ F3d__ 2014 WL 6678622 (7 Cir 2014) with In re TFT-LCD (Flat Panel) Antitrust
Litigation, 2012-2 Trade Cases 978,031, 2012 WL 3276932 (N D Cal 2012). These are
circumstances that often make settlement sensible for parties on both sides of a case. Hence, |
believe there are realistic prospects for significant settlements in this litigation. It would be
unfortunate for those prospects not to be energetically pursued by lawyers who have
demonstrated the capability to achieve significant settlements in similar litigation and to work
cooperatively with the Cal AG.

IT IS THEREFORE RECOMMENDED that Francis O Scarpulla and Josef D Cooper be
designated as co-lead counsel for the IPPs to work with IPPs’ lead counsel as a committee for
the purpose of assisting in the coordination of this litigation with related state court litigation
and in negotiation of settlement of such actions as appropriate and to assist IPPs’ lead counsel
in his trial preparation efforts. The court should invite IPP lead counsel and any party that
wishes to do so to comment on or oppose this recommendation within a time period
convenient to the court’s schedule and, of course, to consider any such views that are

presented.

IT IS SO RECOMMENDED.

DATED: December / 22014 }
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Vaughn R Walker
Special Master, United States District Judge (Ret)

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